Case 5:20-cv-00746-JKP Document 120-5 Filed 07/17/23 Page 1 of 6




              Exhibit ‘E’
Case 5:20-cv-00746-JKP Document 120-5 Filed 07/17/23 Page 2 of 6
Case 5:20-cv-00746-JKP Document 120-5 Filed 07/17/23 Page 3 of 6
Case 5:20-cv-00746-JKP Document 120-5 Filed 07/17/23 Page 4 of 6
Case 5:20-cv-00746-JKP Document 120-5 Filed 07/17/23 Page 5 of 6
Case 5:20-cv-00746-JKP Document 120-5 Filed 07/17/23 Page 6 of 6
